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 6                      IN THE UNITED STATES DISTRICT COURT
 7                           FOR THE DISTRICT OF ARIZONA
 8   Manuel de Jesus Ortega Melendres, on             No. CV-07-2513-PHX-GMS
 9   behalf of himself and all others similarly
     situated; et al.                                 ORDER
10
                          Plaintiffs,
11
     and
12
     United States of America,
13
                          Plaintiff-Intervenor,
14
     v.
15
     Paul Penzone, in his official capacity as
16   Sheriff of Maricopa County, Arizona; et al.
17                        Defendants.
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19         The Court has received and reviewed the Monitor’s invoice dated February 1, 2023
20   for services rendered by the Monitor in January 2023. The Court finds the invoice and
21   charges to be reasonable and directs Maricopa County to authorize payment of the
22   Monitor’s invoice for the total amount, including any past due balance.
23         Dated this 13th day of February, 2023.
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